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  1   Philip J. Giacinti, Jr. (Bar No. 065909)
      PROCOPIO, CORY, HARGREAVES &
  2      SAVITCH LLP
      525 B Street, Suite 2200
  3   San Diego, California 92101
      Telephone: 619.238.1900
  4   Facsimile: 619.235.0398

  5   Attorney for Debtor, Frank M. Jodzio

  6

  7

  8                                   UNITED STATES BANKRUPTCY COURT

  9                             FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 10   In re:                                                  Case No.: 10-11788-LA11
 11   FRANK M. JODZIO,                                        Chapter 11
 12                     Debtor                                [SECOND MODIFIED] FIRST
                                                              AMENDED CHAPTER 11 PLAN OF
 13                                                           REORGANIZATION DATED
                                                              DECEMBER 22, 2010
 14

 15
                                                              Dept:       Two
 16                                                           Judge:      Hon. Louise DeCarl Adler
 17

 18            Pursuant to 11 U.S.C. §§ 1121, 1123, 1129 and the applicable provisions of Title 11,
 19   Frank M. Jodzio submits his first amended Chapter 11 plan of reorganization:
 20                                                   I.
 21                                            INTRODUCTION
 22            Frank M. Jodzio voluntarily filed for relief under Chapter 11 on July 2, 2010. The
 23   meeting of creditors was concluded on August 10, 2010. The Debtors July and August operating
 24   reports were filed on September 29, 2010. September and October Operating Reports were filed
 25   on or about November 9, 2010.
 26            The Debtor’s Disclosure Statement and Plan of Reorganization are filed and the Debtor
 27   seeks confirmation of this plan following approval of his disclosure statement.
 28



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  1
                                                       II.
  2
                                                DEFINITIONS
  3
               For ease of reference the Debtor provides the following plan definitions:
  4
               The capitalized terms in this Plan are defined in Appendix “1.” Whenever any word,
  5
      words or phrase which is defined by any provision of the Bankruptcy Code is used, then, unless
  6
      the Plan in Appendix “1” or the context specifically gives a different meaning, such word, words
  7
      or phrase shall, for the purpose of this Plan, have the same meaning as that established by the
  8
      Bankruptcy Code.
  9
                                                      III.
 10
           GENERAL BANKRUPTCY CODE CONSIDERATIONS FO THE CHAPTER 11
 11
                                               CONFIRMATION
 12
               The Debtor is an individual. His spouse Victoria Jodzio is not a Debtor under Title 11 of
 13
      the Bankruptcy Code.
 14
               The Debtor filed for relief under Chapter 11 on July 2, 2010. The Debtor did not qualify
 15
      for relief under Chapter 7 as he did not satisfy the “means test” under 11 U.S.C. 707(b). The
 16
      Debtor did not qualify for relief under Chapter 13 as his secured obligations exceed the limit
 17
      provided for in 11 U.S.C. § 109(e).
 18
               As a Debtor under Chapter 11, the Debtor’s Plan provides net disposable income for the
 19
      period of 60 months following confirmation for Plan payments to unsecured creditors and
 20
      required by 11 U.S.C. § 1129(a)(15) and provides for payment in full as well.
 21
               Additionally, all secured creditors are to be paid in full under the terms of the Debtor’s
 22
      Plan.
 23
                                                      IV.
 24
                       DESIGNATION OF CLASSES OF CLAIMS AND INTERESTS
 25
               Administrative expenses are not set forth in a class of claims. Administrative expenses
 26
      will be paid in cash in full at confirmation subject to noticed application for payment and Court
 27
      approval.
 28
               Priority tax claims would also not be classified. There are no unpaid priority tax claims.

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  1
      Class 1:                   Home Bank                  Secured        7050 Friars Road
  2
      Class 2:                   Chase                      Secured        930-932 27th Street
  3
      Class 3:                   Chase                      Secured        924-926 27th Street
  4
      Class 4:                   Chase                      Secured        1040-44 24th Street
  5
      Class 5:                   Chase                      Secured        5001 Kensington Drive
  6
      Class 6:                   Home Bank                  Secured        1744 6th Avenue
  7
      Class 7:                   Home Bank                  Secured        915 25th Street
  8
      Class 8:                   Citi Mortgage              Secured        1650 8th Avenue
  9
      Class 9:                   Citi Mortgage              Secured        2476 A Street
 10
      Class 10:                  Citi Mortgage              Secured        2859-2842 C Street
 11
      Class 11:                  Citi Mortgage              Secured        5102 Canterbury Drive
 12
      Class 12:                  EMC Mortgage               Secured        5182 Hastings
 13
      Class 13(A), (B):          SDCCU                      Secured        13a. 2700 Adams
 14
                                                                           13b. 5182 Hastings
 15
      Class 14(A), (B):          General Unsecured                         14a. Credit Card renewal
 16
                                                                           14b. All other unsecured creditors
 17
      Class 15                   Debtor’s interests         Equity         All Debtor’s assets
 18

 19                                                        V.
 20       CLASSES OF CLAIMS NOT TO BE IMPAIRED UNDER THE DEBTOR’S PLAN
 21            Class 1: (Home Bank: 7050 Friars Road).
 22            The cure provisions are discussed under the analysis of Means For Implementation of The
 23   Plan, paragraph VIII, page 6, below.
 24                                                        VI.
 25                          TREATMENT OF IMPAIRED CLASSES OF CLAIMS
 26            The only class of impaired creditors where there is more than one creditor in the class is
 27   class 14, the class of unsecured creditors.
 28
      Class 2:       Chase                 930-932 27th Street: At the sole option of Chase.

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  1
                                                   a.      Modification of Chase first deed of trust to
  2
                                           $200,000 payable over balance of note term together with interest
  3
                                           at 6%, waiving any claim in Class 14; or
  4
                                                   b.      Elect to have property foreclosed or “short saled”
  5
                                           by not voting or not electing modification under Paragraph a.
  6
      Class 3:       Chase                 924-926 27th Street: At the sole option of Chase:
  7
                                                   a.      Modification of Chase first deed of trust to
  8
                                           $350,000 payable over balance of note term together with interest
  9
                                           at 6%; or
 10
                                                   b.      Elect to have property foreclosed or “short saled”
 11
                                           by not voting or not electing modification under Paragraph a.
 12
      Class 4:       Chase                 1040-44 24th Street.
 13
                                                   a.      Chase will retain its lien
 14
                                                   b.      Any delinquencies will be rolled into the existing
 15
                                           note;
 16
                                                   b.      Paid in full over balance of the note term with
 17
                                           interest at the note rate.
 18
      Class 5:       Chase                 5001 Kensington Drive
 19
                                                   a.      Chase will retain its lien
 20
                                                   b.      Any delinquencies will be rolled into the existing
 21
                                           note;
 22
                                                   b.      Paid in full over balance of the note term with
 23
                                           interest at the note rate.
 24
      Class 6:       Home Bank             1744 6th Avenue
 25
                                                   a.      Home will retain its lien
 26
                                                   b.      Any delinquencies will be rolled into the existing
 27
                                           note;
 28
                                                   b.      Paid in full over balance of the note term with
                                                              4
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  1
                                           interest at the note rate.
  2
      Class 7:       Home Bank             915 25th Street
  3
                                                   a.      Home will retain its lien
  4
                                                   b.      $10,000 in loan proceeds are presently held by
  5
                                           Home Bank and never provided to Jodzio. $5,000 of those loan
  6
                                           proceeds are to be applied to the principal outstanding of the note
  7
                                           and $5,000 are to be released to Jodzio.                Any remaining
  8
                                           delinquencies are rolled into the note. Thereafter, the payments
  9
                                           required under the Home Bank note will be paid by Jodzio
 10
                                           according to the terms of the existing promissory note and for the
 11
                                           balance of the term of the note until paid in full.
 12
      Class 8:       Citi Mortgage         1650 8th Avenue
 13
                                                   a.      Citi will retain its lien
 14
                                                   b.      All delinquent amounts added to promissory note
 15
                                                   c.      Paid in full over balance of note term with interest
 16
                                           at the note rate and pursuant to note repayment terms.
 17
      Class 9:       Citi Mortgage         2476 A Street
 18
                                                   a.      Citi will retain its lien
 19
                                                   b.      All delinquent amounts added to promissory note
 20
                                                   c.      Paid in full over balance of note term with interest
 21
                                           at the note rate and pursuant to note repayment terms.
 22
      Class 10:      Citi Mortgage         2859-2842 C Street
 23
                                                   a.      Citi will retain its lien
 24
                                                   b.      All delinquent amounts added to promissory note
 25
                                                   c.      Paid in full over balance of note term with interest
 26
                                           at the note rate and pursuant to note repayment terms.
 27
      Class 11:      Citi Mortgage         5102 Canterbury Drive:
 28
                                                   a.      Citi will retain its lien
                                                              5
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  1
                                                    b.        All delinquent amounts added to promissory note
  2
                                                    c.        Paid in full over balance of note term with interest
  3
                                           at the note rate and pursuant to note repayment terms.
  4
      Class 12:      EMC                   5182 Hastings:
  5
                     Mortgage                       a.        EMC will retain its lien
  6
                                                    b.        All delinquent amounts added to promissory note
  7
                                                    c.        Paid in full over balance of note term with interest
  8
                                           at the note rate and pursuant to note repayment termsb.
  9
                                                    Pursuant to stipulation between Class 12, the Debtor and
 10
                                           Mrs. Jodzio, the Class 12 note term will remain unchanged, except
 11
                                           pre-confirmation defaults to be cured over sixty (60) months, post
 12
                                           confirmation. The terms of the Class 12 and Debtor’s stipulation
 13
                                           to be incorporated in the order confirming the Plan.
 14
      Class 13:      SDCCU                 13(A): 2700 Adams
 15
      13(A)                                         a.        SDCCU will retain its lien
 16
      13(B)                                         b.        All delinquent amounts added to promissory note
 17
                                                    c.        Paid in full over balance of note term with interest
 18
                                           at the note rate and pursuant to note repayment terms.
 19
                                           13(B): 5182 Hastings
 20
                                                    a.        SDCCU will retain its lien
 21
                                                    b.        All delinquent amounts added to promissory note
 22
                                                    c.        Paid in full over balance of note term with interest
 23
                                           at the note rate and pursuant to note repayment terms.
 24
      Class 14:      General               14(A):        Credit card indebtedness where the credit card issuer
 25
      14(A)          Unsecured             agrees to continue authorization of the Debtor’s use of the credit
 26
                                           card. The Debtor reaffirms his indebtedness and will pay in full
 27
      14(B)                                under normal credit card terms.
 28


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  1
                                           14(B): All of the unsecured creditors, if any, including those in
  2
                                           classes entitled to claim any deficiency under 11 U.S.C. § 1111(b)
  3
                                           will be paid a dividend over five years from “disposable income”
  4
                                           as defined in 11 U.S.C. § 1129(a)(15), together with interest on the
  5
                                           State of California judgment rate, with all unsecured creditors to
  6
                                           be paid in full within sixty (60) months from the effective date of
  7
                                           the Plan.
  8
      Class 15       Jodzio                The Debtor will retain his interest in all property
  9
               All terms of existing notes and deed of trusts to remain unchanged post-confirmation.
 10

 11                                                        VII.

 12                        EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 13            The Debtor does not believe he has any executory contracts. To the extent any exist, the

 14   Debtor will neither assume nor reject those contracts.

 15            The Debtor is a lessor of 12 real property investments. The rights and obligations as

 16   landlord to tenant and tenant to landlord under Chapter 11 are provided for in 11 U.S.C. § 365(h).

 17            The Debtor will neither assume nor reject any unexpired lease of real property in which

 18   the Debtor is lessor.

 19            The Debtor will continue to collect rents post-confirmation and maintain and manage the

 20   rental properties and seek tenants for all vacancies. The Debtor will also pursue unlawful

 21   detainer proceedings where appropriate.

 22            The Debtor and his non-debtor spouse will continue to manage the rental properties

 23   renting vacant units or properties as well as paying all expenses from a single property

 24   management account.             Upon confirmation, all cash collateral accounts kept for separate

 25   properties may be kept in place or closed at the Debtor’s option to save expense.

 26            Unless otherwise provided under California law dealing with breaches of leases by

 27   tenants, security deposits will be returned to all tenants upon completion of lease.

 28


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  1
                                                         VIII.
  2
                                     MEANS FOR EXECUTION OF THE PLAN
  3
               Unless Chase (Class 2) (930-932 27th Street) and (Class 3) (924-926 27th Street) elect to
  4
      have its collateral “short saled” or foreclosed, the Debtor will pay Chase in Class 2 $200,000 and
  5
      in Class 3 $350,000 payable over the balance of the respective existing note terms together with
  6
      interest at 6%.
  7
               Classes 4 (Chase 1040-44 24th Street); 5 (Chase 500 Kensington Drive); 6 (Home Bank
  8
      1744 6th Avenue); 7 (Home Bank 915 25th Street); 8 (Citi Mortgage 1650 8th Avenue); 9 (Citi
  9
      Mortgage 2476 A Street); 10 (Citi Mortgage 2859-2842 C Street); 11 (Citi Mortgage 5102
 10
      Canterbury Drive); 12 (EMC Mortgage 5182 Hastings); and 13 (SDCCU 2700 Adams and 5182
 11
      Hastings) will be paid in full with all delinquencies, if any, added to principal, with payment over
 12
      the balance of the term of the note, together with interest at note rate according to existing
 13
      promissory note terms.               Class 12 (EMC Mortgage 5182 Hastings) have agreed that all
 14
      delinquencies will be cured over sixty (60) months with regular note payments to be made post-
 15
      confirmation.
 16
               With regard to Class 7 (Home Bank 915 25th Street), Home Bank holds in segregated
 17
      loan funds $10,000 as cash collateral. The monthly payments made to Class 7 under the terms of
 18
      the Class 7 note will remain current. $5,000 of the cash collateral will be applied to the principal
 19
      outstanding balance of the loan. $5,000 of the cash collateral will be released to Jodzio for Plan
 20
      financing purposes as needed and in his sole discretion. Thereafter, the monthly payments will
 21
      be made by Jodzio according to the terms of the Class 7 promissory note.
 22
               7050 Friars Road (Class 1 Home Bank) has been sold with Class 1 to be paid in full. The
 23
      balance of the proceeds from the sale of 7050 Friars Road – approximately $214,000 - will be
 24
      used to bring current all unpaid real property taxes for all properties, cure any delinquencies in
 25
      Class 12 (EMC Mortgage 5182 Hastings), pay all administrative expenses in full and U.S.
 26
      Trustee’s fees.
 27
               The balance of proceeds of sale of 7050 Friars Road will be used to pay unsecured
 28
      creditors in Class 14 in full over five years with interest at 5%. Should they elect to renew credit

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  1
      cards on terms acceptable to the Debtor, the Debtor may elect to pay the claim in full at
  2
      confirmation.
  3
               Any remaining proceeds of sale of 7050 Friars Road will be placed in the property
  4
      management account to be used to cover mortgage payments where vacancies occur in rentals.
  5
               The funds from the sale of 7050 Friars Road are sufficient to cover all required plan
  6
      payments.
  7
               Prior to confirmation, Jodzio will continue to comply with the Bankruptcy Court’s cash
  8
      collateral order dated August 11, 2010. Following entry of the confirmation order, Jodzio will
  9
      release all net proceeds from each cash collateral account, if any, to each Class thus closing their
 10
      respective cash collateral accounts.
 11
               Except with respect to Class 1 (7050 Friars Road), Class 2 (930-932 27th Street) and
 12
      Class 3 (924-926 27th Street) the Debtor is to retain all properties. However, post-confirmation
 13
      the Debtor may sell any or all properties remaining to maintain all payments due under the Plan.
 14
                                                      IX.
 15
                                           RETENTION OF JURISDICTION
 16
               Until the Plan has been fully consummated through entry of the final decree, the
 17
      Bankruptcy Court shall retain jurisdiction over the following:
 18
               1.       Hearing and determining all claims and rights of action within the jurisdiction
 19
                        provided for by 28 U.S.C. §§ 157 and 1334.
 20
               2.       Fixing the allowance of any Claim or any Administrative Expense of the Chapter
 21
                        11 case.
 22
               3.       Reexamining any Claim which has been allowed as of the Effective Date.
 23
               4.       Hearing and determining any objection to a Disputed Claim as provided in the
 24
                        Plan.
 25
               5.       Hearing and determining the applications for post-confirmation fees and expenses
 26
                        of the Liquidating Trustee and professionals employed by either the Liquidating
 27
                        Trustee or the Committee.
 28


                                                        9
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  1
               6.       Except with respect to a dispute over the allowance of a claim, the automatic stay
  2
                        of 11 U.S.C. § 362 does not remain in effect post-confirmation.
  3
               Final fee applications or requests for payment of administrative expenses are to be filed
  4
      and served within thirty day (30) after entry of a final order confirming the Debtor’s plan. The
  5
      Court’s interim fee approval order dated September 27, 2010, will remain in effect pending
  6
      hearing on final fee applications.
  7
                                                       X.
  8
                                           EFFECT OF CONFIRMATION
  9
               The Confirmation Order shall vest all real and personal Property of the Estate not
 10
      previously sold or abandoned in the Debtor, as free and clear of any and all liens and interests not
 11
      provided for in Classes 1 through 14.
 12
               Section 1141 of the Bankruptcy Code provides that confirmation of a Chapter 11 plan for
 13
      a individual does result in a discharge of Claims against the Debtor.
 14
                                                       XI.
 15
                                INCOME TAX CONSEQUENCES OF THE PLAN
 16
               The Plan does not contemplate any unusual tax consequences as the Debtor has and will
 17
      file timely all necessary tax returns. The Plan terms do not require any extraordinary taxable
 18
      event. There are no unpaid priority tax claims. All delinquent real property taxes are paid in full
 19
      at confirmation.
 20
               CREDITORS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS AS TO
 21
      THE CONSEQUENCES, IF ANY, OF THE PLAN UNDER APPLICABLE FEDERAL STATE
 22
      AND LOCAL TAX LAWS AS THEY APPLY TO THEM.
 23
                                                      XII.
 24
                                VOTING AND CONSENTS TO THE JOINT PLAN
 25
               The Plan divides the Claims of creditors into fourteen (14) Classes, inclusive of Class 14
 26
      with subclass. Classes of creditors and interest holders impaired under the Plan are entitled to
 27
      vote. Creditors in Classes 1 through 11 and 13 and 14 are impaired and therefore, entitled to
 28
      vote.    Class 12 is not impaired and does not vote as it is deemed to have accepted the

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  1
      Planimpaired and has entered into a stipulation with the Debtor for its treatment as the holder of a
  2
      claim on the Debtor’s principal residence.
  3
                                                       XIII.
  4
                                           CONFIRMATION REQUIREMENTS
  5
               The Plan can be confirmed by the Court provided that at least one Class of impaired
  6
      creditors vote in favor of the Plan. For an impaired Class to approve the Plan, one-half (1/2) of
  7
      those voting in the Class, other than insiders, must vote in favor of the Plan and two-thirds (2/3)
  8
      of the total allowed Claim amounts voting, other than insiders, must vote in favor of the Plan.
  9
               The Court may confirm the Plan even if not all impaired Classes vote in favor of the Plan.
 10
      The Debtor will seek confirmation so long as one impaired class votes in favor of the Plan.
 11
               In order to confirm the Plan, the Court must find that the Plan satisfies the applicable
 12
      requirements set forth in Sections 1129(a) and (b) of the Bankruptcy Code.
 13
      DATED: May 23, 2011                              PROCOPIO, CORY, HARGREAVES &
 14                                                      SAVITCH LLP

 15

 16                                                    By      /s/ Philip J. Giacinti, Jr.
                                                       :
 17                                                            Philip J. Giacinti, Jr.
                                                               Attorneys for Debtor,
 18                                                            Frank M. Jodzio
 19

 20

 21

 22

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                                                   APPENDIX 1
  2
                                                  DEFINITIONS
  3
               The Debtor, in an effort to simply the language and make the plan readable to non-
  4
      lawyers, have defined certain terms in laymen’s language.            The following definitions were
  5
      drafted with this in mind. The formal definitions provided for these terms in the Bankruptcy
  6
      Code and Bankruptcy Rules control over the plan definitions in the event of any confusion:
  7
               1.       Administrative Expense: Any cost or expense incurred by the estate of Frank M.
  8
                        Jodzio (Debtor) on or after July 2, 2010, that was reasonable and incurred in
  9
                        administering the Chapter 11 case preserving the Debtor’s assets. Items such as
 10
                        trustee fees, attorney and accounting fees, wages, rent, insurance premiums and
 11
                        storage fees are types of administrative expenses although this is not an exclusive
 12
                        list.
 13
               2.       Allowed Claim: Any debt or obligation incurred by the Debtor to any person or
 14
                        entity prior to July 2, 2010, for which a proof of claim was filed by November 15,
 15
                        2010, and which the Court has approved. An allowed Claim is also one scheduled
 16
                        by the Debtor provided it is not listed as contingent, disputed or unliquidated.
 17
               3.       Bankruptcy Code: Title 11 of the United States Code, commonly referred to as
 18
                        the United States Bankruptcy Code.
 19
               4.       Bankruptcy Court: The United States Bankruptcy Court for the Southern District
 20
                        of California, including the Judge of the United States Bankruptcy Court presiding
 21
                        in this Chapter 11 Case, together with any other court granted jurisdiction by 28
 22
                        U.S.C. section 1334 and any successor court as may be granted jurisdiction over
 23
                        this case by Congress.
 24
               5.       Claims Bar Date: November 15, 2010, the date set by the Bankruptcy Court as the
 25
                        last day for filing Proofs of Claim.
 26
               6.       Business Day: A day that is not a Saturday, Sunday or legal holiday as identified
 27
                        in Federal Rule of Bankruptcy Procedure 9006(a).
 28


                                                         12
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  1
               7.       Chapter 11 Case: The Chapter 11 Case entitled In re Frank M. Jodzio, pending
  2
                        before the United States Bankruptcy Court for the Southern District of California
  3
                        and designated as Case No. 10-11788-LA11.
  4
               8.       Claim: Any right, as defined in section 101(5) of the Bankruptcy Code, arising
  5
                        before the commencement of the Chapter 11 Case.
  6
               9.       Claim Objection Deadline: The ninetieth (90th) day after the Effective Date.
  7
               10.      Class: A Class of Claims or interests as defined in Article IV of the Plan.
  8
               11.      Confirmation Date: The date upon which the Confirmation Order is entered by
  9
                        the Bankruptcy Court.
 10
               12.      Confirmation Order: The Order of the Bankruptcy Court confirming the Plan
 11
                        pursuant to section 1129 of the Bankruptcy Code.
 12
               13.      Debtor: Frank M. Jodzio, a married individual.
 13
               14.      Effective Date: The eleventh (11th) Business Day following the entry of the
 14
                        Confirmation Order.
 15
               15.      Final Order: An Order of the Bankruptcy Court or other Court of competent
 16
                        jurisdiction that has been entered and either: (i) the time for appeal from such
 17
                        entered Order has expired with no appeal having been filed timely; or (ii) any
 18
                        appeal that had been filed timely has been dismissed or finally determined; or (iii)
 19
                        any timely appeal of an order or judgment has become moot.
 20
               16.      Petition Date: July 2, 2010, the date on which the Debtor filed his voluntary
 21
                        petition for relief under Chapter 11 of the Bankruptcy Code.
 22
               17.      Plan: This Plan of Reorganization in its present form or as it may be amended or
 23
                        modified from time to time and as confirmed by an order of the Bankruptcy Court.
 24
               18.      Professional Fees:    Those fees incurred by Debtor-in-Possession, any court
 25
                        appointed expert post-petition and prior to the Confirmation Date, of professionals
 26
                        whose employment was approved by the Bankruptcy Court.
 27

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  1
               19.      Property of the Estate:     Any and all property, real or personal, tangible or
  2
                        intangible, of the Debtor, as such term is defined in section 541 of the Bankruptcy
  3
                        Code.
  4
               20.      Short Sale: Is defined as the secured deed of trust holders agreement to approve a
  5
                        sale of the encumbered real property, releasing its deed of trust for less than the
  6
                        full amount owed the secured creditor.
  7
               21.      Secured Claim: A Claim the repayment of which is secured by a creditor’s
  8
                        interest in the Debtor’s interest in property of the Debtor’s Estate.
  9
               22.      Unsecured Claim: A Claim, the payment of which is not secured by Property of
 10
                        the Debtor’s Estate.
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                                                                                        Case No. 10-11788-LA11
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      Document comparison done by Workshare DeltaView on Monday, May 23, 2011
      4:16:41 PM
      Input:
      Document 1          PowerDocs://DOCS/1260940/5
      Document 2          PowerDocs://DOCS/1260940/6
      Rendering set       standard

      Legend:
      Insertion
      Deletion
      Moved from
      Moved to
      Style change
      Format change
      Moved deletion
      Inserted cell
      Deleted cell
      Moved cell
      Split/Merged cell
      Padding cell

      Statistics:
                           Count
      Insertions                                  8
      Deletions                                  10
      Moved from                                  1
      Moved to                                    1
      Style change                                0
      Format changed                              0
      Total changes                              20
